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Liu Luwei and Lv Dezheng

UNITED STATES DISTRICT COURT
CENTRAL DlSTRICT OF CALIFORNIA - WES'I`ERN DIVISION

 

 

LIU LUWEI, an individual, and LV MiSC_ proceeding NO_
DEZHENG, an individual,
Petitioners,
AFFIBAVIT OF WING KEUNG
vs. CLEMENT NGAI
PHYTO TECH CORP., a California Trial Date: None Set
corporation,
Respondent.
I, Wing Keung Clement Ngai, declare:
i. I am an attorney at law practicing in Shanghai, China. 1 am a partner in the

Shanghai office ot` Baker & McKenzie, LLP. My business address is Unit 1601, Jin Mao Tower,
88 Century Avenue, Pudong, Shanghai, China 200121.

2. 1 make this Aftidavit in support of the Petitioners’ Petition to Recognize, Confirrn
and Enforce Foreign Arbitration Award in this matter.

3. I represented the Petitioners, Lv Dezheng and Liu Luwei, in the events summarized
below. The contents of this At`iidavit are true of my own personal knowiedge. It` called and
sworn as a witness, I could and would competently testify thereto.

4. On February 5, 2015, Petitioner Lv Dezheng, acting on behalf of Petitioner Liu

Luwei, entered into a Shareholding Assignment Agreement with Respondent for the sale to

 

 

AFFIDAVIT OF WING KEUNG CLEMENT NGAI

 

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Respondent of a 100% shareholding in Teejoy, as defined above (“The Agreement”). A true and
correct copy of the original Agreernent is attached as Exhibit 1 and is incorporated herein by
reference A certified English translation of the Agreernent is attached as Exhibit 2 and is
incorporated herein by reference

5. The Agreement Was revised and re~executed on February 6, 2015 and March 5,
2015 in order to comply with regulatory requirements in the People’s Repubiic of China. A true
and correct copy of the original revised Agreement executed on February 6, 2015 is attached as
Exhibit 3 and is incorporated herein by reference A certified English translation of the revised
Agreement executed on February 6, 2015 is attached as Exhibit 4 and incorporated herein by
reference

6. A true and correct copy of the original re-revised Agreement executed on March 5,
2015 is attached as Exhibit 5 and incorporated herein by reference A certified English translation of
the re-revised Agreement executed on March 5, 2015 is attached as Exhibit 6 and incorporated herein
by reference

7. Pursuant to the Agreement, Petitioners transferred their shareholding in Teejoy to
Respondent. However, Respondent failed to pay the agreed consideration for the shares.

8. The parties’ dispute Was submitted to arbitration by the Shanghai lnternational
Economic and Trade Arbitration Commission (“The Commission”) pursuant to the parties
agreement as evidenced in relevant dispute resolution provision in the Agreement and the revised
Agreements. A true and correct copy of the Arbitration Petition is attached as Exhibit 7 and
incorporated herein by reference A certified English translation of the Arbitration Petition is
attached as Exhibit 8 and incorporated herein by reference

9. On June 2, 2016, the Commission gave notice of the composition of the Arbitral
Tribunai, a true and correct copy of which is attached as Exhibit 9 and incorporate herein by
reference A certified English copy of the Notice of Composition of Arbitral Tribunal is attached
as Exhibit 10 and incorporated herein by reference

10. The Commission held the first hearing on 22 July 2016 and a second hearing on

26 October 2016. ln both hearings, the Respondent Was represented by its attorneys of Grandall

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AFFIDAVIT OF WING KEUNG CLEME`.NT NGAl

 

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(Shanghai) Law Office.

11. On l\/Iay 2, 20]7, the Commission made an arbitration award (“The Arbitration
Award”), a true and correct copy of the original Arbitration Award is attached as Exhibit 11 and
incorporated by reference A certified English translation of the Arbitration Award is attached as

Exhibit 12 and incorporated herein by reference The Commission ordered as follows:

(1) Order the Respondent to pay Rl\/IB 34 miliion Yuan to two Claimants for shareholding
assignment;

(11) Order the Respondent to pay RI\/IB 676,000 Yuan of iiquidated damages due to overdue
payment to two Claimants as of February 22, 2016;

(111) Dismiss other arbitration claims raised by two Claimants;

(IV) The arbitration fee of arbitration claims from two Claimants in this case was RMB
590,260 Yuan. Two Claimants shall undertake RMB 100,000 Yuan and the Respondent
shall pay RMB 490,260 Yuan. As two Claimants had paid all arbitration fees in advance,
the Respondent Shall pay RMB 490,260 Yuan to two Claimants;

(V) Disrniss all arbitration counterciaims raised by the Respondent;

(VI) The Respondent shali bear the arbitration fees of RMB 248,750 Yuan for arbitration
counterclaims.

The payments in the above mentioned Item (1), (11) and (IV) shall be paid to two Claimants by
the Respondent within 10 days upon service of the Arbitration Award. This arbitration is final
and takes effect from the date of` rendering. [See Exhibits 11-12]
12. On July 14, 2017, Respondent appealed the Arbitration Award to the Shanghai
No. 2 Intermediate Peopie’s Court of the People’s Republic of China (“The SH No.2
Intermediate Court”). A true and correct copy of Respondent’s appeai is attached as Exhibit 13
and incorporated herein by reference A certified English translation of Respondent’s appeal is
attached as Exhibit 14 and incorporated herein by reference

13. On August 2, 2017, the SH No.2 lntermediate Court rejected Respondent’s appeal

and affirmed the Arbitration Award. A true and correct copy of the 1ntermediate Court’s ruling is

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AFFIDAVIT OF WfNG KEUNG CLEMENT NGAI

 

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attached as Exhibit 15 and incorporated herein by reference A certified copy of the SH No.2
lntermediate Court’s ruling is attached as Exhibit 16 and incorporated herein by reference

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1 declare under penalty of perjury under the laws of` the United States that the foregoing is

true and correct.

Executed on ilH 31 2012 at Unit 1601, J in Mao Tower, 88 Century Avenue,

Pudong, Shanghai, China 200121.
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Wing Keung Clement Ngai

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AFFIDAVIT OF WING KEUNG CLEMENT NGAI

 

